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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                            Case No. 1:13-CR-065-BLW
             Plaintiff,
                                            PRELIMINARY ORDER OF
      vs.                                   FORFEITURE

ELAINE MARTIN,

             Defendant.


      This matter having come before the Court on the Government’s motion for

preliminary order of forfeiture (docket no. 151), and based upon the record and

filings herein, including the guilty verdicts of ELAINE MARTIN, entered on

September 19, 2013, by which the defendant was found guilty of violations of 18

U.S.C. §§ 1341 and 1343, providing for forfeiture pursuant to 18 U.S.C. §

981(a)(1)(C) and 28 U.S.C. § 2461(c), and based upon the December 11, 2013,

forfeiture hearing, related briefing, and this Court’s Findings of Fact and

Conclusions of Law;

      NOW THEREFORE IT IS HEREBY ORDERED, that the Government’s

motion for preliminary order of forfeiture (docket no. 151) is GRANTED and the

defendant shall forfeit to the United States all property, real and personal,

constituting or derived from proceeds traceable to the defendant’s violations of 18


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U.S.C. §§ 1341 and 1343, to include, but not be limited to, the following property

(hereinafter “Subject Property”):

      Subject Property:

      A.     Cash Proceeds: The sum of $3,084,038.05 in United States currency

and all interest and proceeds traceable thereto, in that such sum in aggregate is

property which constituted proceeds of the offenses of conviction, and was

subsequently expended, spent, transferred, distributed or otherwise disposed of by

the defendant.

      B.     Substitute Assets: Based upon the government’s showing that the

defendant transferred, expended, distributed and commingled the proceeds of the

offense, making them difficult or impossible to trace, and thereby rendering them

unavailable for forfeiture at this time, the following substitute assets:

      Real Property and Proceeds thereof: All right, title and interest in land

      and appurtenances and improvements, including buildings and residences,

      and proceeds of sale thereof, more fully described as:

             a.     All that lot or parcel of land, together with its buildings,

      appurtenances, improvements, fixtures, attachments, and easements located

      at 2231 N. Hickory Way, Meridian, Idaho 83642, PN R6875910110, and

      more particularly described as:




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           Lot 6 in Block 5 of Packard Subdivision No. 2, according to the
           Official Plat thereof, filed in Book 79 of Plats at Page(s) 8509-8510,
           records of Ada County, Idaho.

           b.    All that lot or parcel of land, together with its buildings,

     appurtenances, improvements and fixtures, attachments, and easements

     located 1881 W. Marcon Lane, Meridian, Idaho 83642, PN S1211449603,

     and more particularly described as:

           A parcel of land located in the East ½ of the SE ¼ of Section 11,
           T.3N., R.1W., Boise Meridian, Ada County, Idaho; more particularly
           described as follows:

           Commencing at the corner common to Sections 11, 12, 13 and 14,
           T.3N., R.1W., B.M.;

           Thence along the section line common to said Sections 11 and 14
           South 89°16’00” West, 1172.00 feet; Thence departing said line North
           00°58’55” West, 711.36 feet to a point in the Center of the Eight Mile
           Lateral, common to the Northwest corner of Cafarelli Subdivision No.
           2, as same is recorded in Book 91 of Plats at Page 10777, records of
           Ada County, Idaho; Thence continuing
           North 00°58’55” West, 21.02 feet to the REAL POINT OF
           BEGINNING.

           Thence continuing North 00°58’55” West, 763.87 feet to a point on
           the South right-of-way of the Oregon Shortline Railroad;

           Thence along said right-of-way North 89°59’30” East, 573.58 feet;

           Thence departing said right-of-way South 00°58’55” East, 1179.63
           feet to a point in the Center of said Eight Mile Lateral;

           Thence along the Centerline of said Lateral the following courses and
           distances:

           North 70°22’01” West 86.56 feet;

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           North 81°52’16” West 190.81 feet;
           North 67°14’36” West 30.85 feet;
           North 46°45’51” West 37.69 feet;
           North 40°10’57” West 40.07 feet to the Northeast corner of said
           Cafarelli Subdivision No. 2;

           Thence departing said Centerline North 00°58’55” West, 21.89 feet;

           Thence North 40°16’18” West, 352.94 feet to the Point of Beginning.

           c.    All that lot or parcel of land, together with its buildings,

     appurtenances, improvements and fixtures, attachments, and easements

     located 12843 Morning Drive, Donnelly, Valley County, Idaho,

     RP001580040030, and more particularly described as:

           Lot 3, Block 4, Morning Dawn Subdivision #4, a plat which is
           recorded in the office of Valley County, Idaho.

           d.    All that lot or parcel of land, together with its buildings,

     appurtenances, improvements and fixtures, attachments, and easements

     located 12844 Morning Drive, Donnelly, Valley County, Idaho,

     RP001580010120, and more particularly described as:

           Lot 12, Block 1, Morning Dawn Subdivision #4, a plat which is
           recorded in the office of Valley County, Idaho.

           e.    All that lot or parcel of land, together with its buildings,

     appurtenances, improvements and fixtures, attachments, and easements

     located Dennett Parcel J., Valley County, Idaho, and more particularly

     described as:


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           A parcel of land situate in the W½ of the SE¼ of Section 12, T. 16 N.,
           R. 2 E., B.M., Valley County, Idaho, more particularly described as
           follows:

           Commencing at a 5/8 inch rebar marking the Center South 1/16
           Corner of Section 12, T. 16 N., R. 2 E., B.M., Valley County, Idaho;
           the REAL POINT OF BEGINNING:

           Thence, N. 01º 15 44 E., 244.11 feet along the west boundary of said
           W ½ SE¼,
           thence, S. 88º 33 24 E., 208.46 feet to the center of No Business
           Road,
           thence, 71.85 feet along a non-tangent curve to the left whose radius is
           230.00 feet, whose long chord bears S. 21º 09 04 E., 71.55 feet, and
           delta angle is 17º 53 52 along said road center line,
           thence, S. 30º 06 00 E., 167.33 feet along said road center line,
           thence, 226.17 feet along a curve to the right whose delta angle is 25º
           55 00 and radius is 500.00 feet along said road center line,
           thence, S. 04º 11 00 E., 134.63 feet along said road center line,
           thence, N. 88º 33 24 W., 406.40 feet to the west boundary of said
           SW¼ SE¼,
           thence, N. 01º 15 44 E., 311.09 feet to the Point of Beginning,
           containing 4.27 acres, more or less.

           Subject to the No Business Road right-of-way

           f.    All that lot or parcel of land, together with its buildings,

     appurtenances, improvements and fixtures, attachments, and easements

     located at NNA, Eagle, Ada County, Idaho 83616, and more particularly

     described as:

           Parcel 1 – Parcel No. S0411347102 – State Parcel No.

     O4N01W117102:



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           All that portion of the Southeast Quarter of the Southwest Quarter and
           the Southwest Quarter of the Southeast Quarter of Section 11 and
           Government Lots 2 and 3 of Section 14, all in Township 4 North,
           Range 1 West, Boise Meridian, Ada County, Idaho, being more
           particularly described as follows:

           Beginning at the quarter corner common to Sections 11 and 14,
           Township 4 North, Range 1 West, Boise Meridian; thence North 2.26
           chains to the True Point of Beginning; thence

           North 74°20’ East 12.35 chains; thence
           South 13.43 chains; thence
           South 62°41’ West 13.39 chains; thence
           North 0.05 chains; thence
           South 55° 10’ West 5.20 chains; thence
           South 76° 00’ West 1.32 chains; thence
           South 20° 30’ West 3.50 chains; thence
           West 3.13 chains; thence
           North 0.02 chains; thence
           West 6.58 chains; thence
           North 18.06 chains; thence
           North 73°45’ East 6.86 chains; thence
           North 74°15’ East 10.27 chains, more or less to the True Point of
           Beginning.

           Except all that portion of the above described lands conveyed to the
           State of Idaho as described in warranty deed recorded August 21,
           1956 under Recorder’s No. 399176, warranty deed recorded
           September 20, 1956 under Recorder’s No. 400579 and Quitclaim
           Deed recorded September 20, 1956 under Recorder’s No. 400584,
           records of Ada County, Idaho.

           And further excepting that portion disclaimed to the State of Idaho on
           July 22, 1991 as Instrument No. 9139734, records of Ada County,
           Idaho.

           And further excepting Lot 1 Block 1 Tealwood Subdivision,
           According to the Plat thereof, filed in Book 59 of Plats at pages 5823
           and 5824, records of Ada County, Idaho.


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           Parcel 2 – Parcel No. S0414212400 – State Parcel No.
           O4N01W142400:

           Commencing at the North one-quarter corner of Section 14, Township
           4 North, Range 1 West , Boise Meridian; thence
           North 0°45’09” East (formerly North), 137.71 feet to a point of
           curvature of the South right-of-way line of State Highway No. 44;
           thence 806.77 feet along a curve to the left, said curve having a delta
           of 3°20’49”, a radius of 13,810.99 feet and a long chord of 806.65 feet
           which bears North 77°29’51” East, to a point on said South highway
           right-of-way line; thence leaving said South highway right-of-way
           line.

           g.     All that lot or parcel of land, together with its buildings,

     appurtenances, improvements and fixtures, attachments, and easements

     located at 5924 W. Half Moon Lane, Eagle, Ada County, Idaho 83616,

     APN No. R5793411500 – State Parcel No. O33000010150, and more

     particularly described as:

           Lot 15, Block 1, Moon Lake Ranch Subdivision, Section 14, T4N,
           R1W, Boise Meridian, Ada County, Idaho

           h.     All that lot or parcel of land, together with its buildings,

     appurtenances, improvements and fixtures, attachments, and easements

     located at 5924 W. Half Moon Lane, Eagle, Ada County, Idaho 83616,

     APN No. R5793411600 – State Parcel No. O33000010160, and more

     particularly described as:

           Lot 16, Block 1, Moon Lake Ranch Subdivision, Section 14, T4N,
           R1W, Boise Meridian, Ada County, Idaho



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      The Court has determined, based on the guilty verdicts to Counts Five

through Ten and Twelve through Seventeen of the Superseding Indictment, that the

above property is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

U.S.C. § 2461(c), and that the United States has established the requisite nexus

between such property and such offense.

      The United States Internal Revenue Service – Criminal Investigation (IRS-

CI), and/or its agents, are authorized to seize the above property, whether held by

the defendant or by a third party, in accordance with Rule 32.2(b)(3) of the Federal

Rules of Criminal Procedure.

      The United States is further authorized, pursuant to Fed. R. Crim. P. 32(b)(3)

and 32.2(c)(1)(B) to conduct any discovery, including depositions, necessary to (1)

identify, locate or dispose of the property ordered forfeited herein, any property

traceable thereto, or any property that may be forfeited as substitute assets; and (2)

to expedite ancillary proceedings related to any third party interests claimed

pursuant to Section 853(n) herein. Such discovery shall be in accordance with the

Federal Rules of Civil Procedure.

      The United States Secretary of Treasury (or a designee) is authorized to

commence any applicable proceeding to comply with statutes governing third party

rights, including giving notice of this Order.




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       The United States shall publish on an official government internet site

(http://www.forfeiture.gov) for at least thirty (30) consecutive days, notice of the

order and its intent to dispose of the property in such a manner as the United States

Secretary of Treasury (or a designee) may direct, as required by Rule

G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims and

Asset Forfeiture Actions and Federal Rule of Criminal Procedure 32.2(b)(6)(C).

The United States may also, to the extent practicable, provide written notice to any

person known to have an alleged interest in the Subject Property.

       Any person, other than the above-named defendant, asserting a legal interest

in the Subject Property may, within sixty (60) days of the first publication date of

the notice or within thirty (30) days of receipt of notice, whichever is earlier,

petition the court for a hearing without a jury to adjudicate the validity of his

alleged interest in the Subject Property, and for an amendment of the order of

forfeiture, pursuant to 21 U.S.C. § 853(n)(6), and made applicable pursuant to 28

U.S.C. § 2461(c).

       Any petition filed by a third party asserting an interest in the Subject

Property shall be signed by the petitioner under penalty of perjury and shall set

forth the nature and extent of the petitioner's right, title, or interest in the property,

the time and circumstances of the petitioner's acquisition of the right, title or




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interest in the property, any additional facts supporting the petitioner's claim and

the relief sought.

         After the disposition of any motion filed under Fed. R. Crim. P.

32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such

discovery is necessary or desirable to resolve factual issues.

         The United States shall have clear title to the Subject Property following the

Court's disposition of all third-party interests, or, if none, following the expiration

of the period provided in pursuant to 21 U.S.C. § 853(n)(2), and made applicable

pursuant to 28 U.S.C. § 2461(c) for the filing of third party petitions.

         Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Preliminary Order of Forfeiture

shall be and hereby is final as to the defendant and shall be made part of the

sentence and included in the judgment at the time of sentencing.

         All sums collected from the sale of substitute assets shall be credited against

the defendant’s money judgment amount, above, and periodically reported to the

Court.

         This Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).




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                                       DATED: January 21, 2014


                                       _________________________
                                       B. Lynn Winmill
                                       Chief Judge
                                       United States District Court




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